                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

CHAD MEADOW, JOHN and SUSAN
PLISKO and KENNETH
McLAUGHLIN, individually and on                  Case No. 3:15-cv-1124
behalf of all others similarly situated,         Judge Chip Campbell
                   Plaintiffs,                   Magistrate Judge Barbara D. Holmes

       v.

NIBCO, INC.,

                   Defendant.

                                   JOINT STATUS UPDATE

       The parties jointly submit this status report following their continued private mediation

before the Honorable Wayne R. Andersen (Ret.) at JAMS in Chicago, Illinois. See Doc. No.

132.

       The parties convened with Judge Andersen on January 29 and 30, 2018, as agreed.

Representatives of 18 insurance companies for defendant were present as well. The parties

engaged in intensive discussions with and through Judge Andersen, and the judge interacted

separately with the group of insurers and defendant’s insurance coverage counsel. Ultimately,

the insurers agreed to mediate among themselves with Judge Andersen and Ross R. Hart, Esq., a

mediator who is a recognized expert in insurance coverage issues, on February 23, 2018. The

parties also agreed to continue their current mediation, with the expected participation of the

insurers, on March 5 and 6, 2018. Judge Andersen advised the participants that, in his view,

these further mediations will allow the parties to move closer to resolution of this case.

       Accordingly, the parties jointly request that the Court maintain the status quo and allow

the mediation process to continue to unfold. The parties will promptly advise the Court about




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the results of the continued mediation. The parties remain available for the scheduled February

23, 2018 Telephonic Status Conference.



Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       Service of the foregoing was accomplished through the Court’s Electronic Filing System

this 12th day of February, 2018, upon the following:

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